                                  Case 20-13056-JTD                 Doc 1        Filed 12/03/20           Page 1 of 23


Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                     Chapter      11
                                                                                                                             Check if this an
                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Lighthouse Resources Inc.

2.   All other names debtor
     used in the last 8 years
                                  Ambre Energy North America, Inc.; AE Group Holdings, Inc.
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business



                                  10980 South Jordan Gateway, South Jordan UT,
                                  84095
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Salt Lake County                                               Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://lighthouseresourcesinc.com

6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                                       Case 20-13056-JTD                 Doc 1         Filed 12/03/20              Page 2 of 23
Debtor    Lighthouse Resources Inc.                                                                     Case number (if known)
          Name


7.   Describe debtor's business         A. Check one:
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above

                                        B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                            Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                             2131

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                            Chapter 7
     debtor filing?
                                            Chapter 9

     A debtor who is a “small               Chapter 11. Check all that apply:
     business debtor” must check                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     the first sub-box. A debtor as                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     defined in § 1182(1) who
                                                                  $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     elects to proceed under                                      operations, cash-flow statement, and federal income tax return or if any of these documents do not
     subchapter V of chapter 11                                   exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     (whether or not the debtor is
     a “small business debtor”)                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second sub-                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     box.                                                         proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                            Chapter 12

9.   Were prior bankruptcy                 No.
     cases filed by or against
     the debtor within the last 8          Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See attached Rider                                              Relationship
                                                  District                                 When                              Case number, if known


Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor   Lighthouse Resources Inc.                                                               Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                      preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                               It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                               It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                               Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                               No
                                               Yes. Insurance agency
                                                       Contact name
                                                       Phone



         Statistical and administrative information

13. Debtor's estimation of      .        Check one:
    available funds
                                            Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                            1,000-5,000                                25,001-50,000
    creditors
                                    50-99                                           5001-10,000                                50,001-100,000
                                    100-199                                         10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                            Case 20-13056-JTD                   Doc 1         Filed 12/03/20             Page 4 of 23
 Debtor         Lighthouse Resources Inc.                                                                     Case number (if known)
                Name



                Request for Relief, Declaration, and Signatures

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
            imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 17. Declaration and signature
     of authorized                          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
     representative of debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                            I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on        12/03/2020
                                                             MM / DD / YYYY


                                        X   /s/ Darin T. Adlard                                                      Darin T. Adlard
                                            Signature of authorized representative of debtor                         Printed name

                                                    Vice President of Finance, Lighthouse
                                            Title   Resources Inc.




 18. Signature of attorney              X    /s/ L. Katherine Good                                                    Date     12/03/2020
                                            Signature of attorney for debtor                                                 MM / DD / YYYY

                                            L. Katherine Good
                                            Printed name

                                            Potter Anderson & Corroon LLP
                                            Firm name

                                            1313 North Market Street
                                            Wilmington, DE 19801
                                            Number, Street, City, State & ZIP Code


                                            Contact phone     302-984-6000                  Email address      kgood@potteranderson.com

                                            5101 DE
                                            Bar number and State




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                                               RIDER

          Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (including the debtor in this chapter 11
case, collectively, the “Debtors”) filed a voluntary petition for relief under chapter 11 of title 11 of
the United States Code in the United States Bankruptcy Court for the District of Delaware. The
Debtors have moved for joint administration of their cases with the lead case number assigned to
the chapter 11 case of debtor Lighthouse Resources Inc.

    1. Lighthouse Resources Inc.

    2. LHR Coal, LLC

    3. KCP, Inc.

    4. Big Horn Coal Company

    5. Rosebud Coal Sales Company

    6. KCP Properties, Inc.

    7. Decker Holding Co., LLC

    8. Decker Coal Company, LLC

    9. Montana Royalty Holdings, LLC

    10. LHR Infrastructure, LLC

    11. Millennium Bulk Terminals-Longview, LLC

    12. Barlow Point Land Company, LLC

    13. Columbia Land Co., LLC

    14. Gulf States Bulk Terminal, LLC




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      UNANIMOUS WRITTEN CONSENT OF THE BOARD OF DIRECTORS OF
                    LIGHTHOUSE RESOURCES INC.

                                          December 2, 2020

       THE UNDERSIGNED, being all of the members of the Board of Directors (the “Board”)
of Lighthouse Resources Inc., a Delaware corporation (the “Corporation”), do hereby waive notice
for a meeting and hereby consent to the adoption of the following resolutions, which resolutions
are adopted as of the date on which the last director’s signature is obtained and shall have the same
force and effect as if such resolutions were adopted by unanimous vote of the Board at a duly
convened meeting held for such purpose, all in accordance with Section 141(f) of the general
corporation law of Delaware:

       WHEREAS, the Board has considered presentations by the management and the financial
and legal advisors of the Corporation regarding the liabilities and liquidity situation of the
Corporation, the strategic alternatives available to it, and the effect of the foregoing on the
Corporation’s business;

       WHEREAS, the Board has considered the financial and operational aspects of the
Corporation’s business and the recommendations of the Corporation’s professionals and advisors
and has deemed it desirable and in the best interest of the Corporation, its creditors, stockholders,
and other interested parties that a petition (the “Petition”) be filed by the Corporation seeking relief
under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”); and

      WHEREAS, the Board has received a copy of the Petition and discussed it with the
Corporation’s professionals and advisors.

        NOW THEREFORE, BE IT RESOLVED, that the Corporation be, and hereby is,
authorized to file or cause to be filed a chapter 11 case (the “Chapter 11 Case”) under the provisions
of the Bankruptcy Code in the Bankruptcy Court; and be it further

       RESOLVED, that Robert Novak be, and hereby is, appointed as Chief Restructuring
Officer to act on behalf of the Corporation; and be it further

        RESOLVED, that each officer of the Corporation, including Robert Novak and each of
their respective designees and delegates (collectively, the “Authorized Officers”), acting alone or
with one or more Authorized Officers, be, and hereby is, authorized, empowered and directed on
behalf of and in the name of the Corporation to execute, verify, and cause to be filed all petitions,
schedules, lists, motions, applications, pleadings and other papers or documents, necessary to
commence a case and obtain relief under the Bankruptcy Code, including but not limited to motions
to obtain the use of cash collateral and provide adequate protection therefor, to obtain debtor in
possession financing, and to take any and all further acts and deeds that they deem necessary, proper
and desirable in connection with the Corporation’s Chapter 11 Case, with a view to the successful
prosecution of such case.
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       RETENTION OF PROFESSIONALS

        RESOLVED, that the Corporation be, and hereby is, authorized and empowered to employ
the law firm of Jackson Kelly PLLC as general bankruptcy counsel to represent and assist the
Corporation in the Chapter 11 Case, subject to any requisite Bankruptcy Court approval; and be it
further

        RESOLVED, that the Corporation be, and hereby is, authorized and empowered to employ
the law firm of Potter Anderson & Corroon LLP as local bankruptcy counsel to represent and assist
the Corporation in the Chapter 11 Case, subject to any requisite Bankruptcy Court approval; and
be it further

        RESOLVED, that the Corporation be, and hereby is, authorized and empowered to employ
BDO USA LLP as restructuring advisor and to provide management services to the Corporation,
subject to any requisite Bankruptcy Court approval; and be it further

       RESOLVED, that the Corporation be, and hereby is, authorized and empowered to employ
Lang Lasalle Americas, Inc. to market and sell assets related to the dock facility owned by
Millennium Bulk Terminals-Longview, LLC; and be it further

      RESOLVED, that the Corporation be, and hereby is, authorized and empowered to employ
Energy Ventures Analysis to market and sell coal mining assets; and be it further

        RESOLVED, that the Corporation be, and hereby is, authorized and empowered to employ
Stretto as claims and noticing agent and administrative agent for the Corporation in the Chapter
11 Case, subject to any requisite approval of the Bankruptcy Court; and be it further

       RESOLVED, that the Corporation be, and hereby is, authorized and empowered to employ
any other professionals to assist the Corporation in carrying out its duties under the Bankruptcy
Code; and be it further

        RESOLVED, that each Authorized Officer be, and hereby is, authorized, empowered and
directed, on behalf of and in the name of the Corporation, to execute appropriate retention
agreements, pay appropriate retainers and fees, and cause to be filed an appropriate application for
authority to retain the services of each of the forgoing professionals and advisors, and any other
professionals or advisors as such Authorized Officer deems necessary, appropriate or desirable;
and be it further

        RESOLVED, that each Authorized Officer be, and hereby is, authorized, empowered and
directed, on behalf of and in the name of the Corporation, to execute and file all petitions,
schedules, motions, lists, applications, pleadings, and other papers, in connection therewith employ
and retain all assistance by legal counsel, accountants, financial advisors, and other professionals,
and take and perform any and all further acts and deeds that such Authorized Officer deems
necessary, proper, or desirable in connection with the Corporation’s Chapter 11 Case, with a view
to the successful prosecution of this case.




                                                 2
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       DIP FINANCING

        WHEREAS, in the judgment of the Board, it is desirable and in the best interests of the
Corporation, its creditors and other parties-in-interest, taken as a whole, that the Corporation obtain
the use of cash collateral and post-petition financing.

        NOW THEREFORE, BE IT RESOLVED, that each Authorized Officer, and any employee
or agent (including counsel) designated by or directed by such Authorized Officer, be and hereby
is, authorized, empowered and directed, on behalf of and in the name of the Corporation, to
negotiate and obtain the use of cash collateral and post-petition financing and to enter into and
execute any financing or cash collateral agreement and all documents ancillary thereto on terms
and conditions as such Authorized Officer in his/her discretion may deem necessary, appropriate
or desirable in order to fully carry out the intent and accomplish the purpose of the resolutions
adopted herein.

       SALE OF ASSETS

      WHEREAS, in the judgment of the Board, it is desirable and in the best interests of the
Corporation, its creditors, stockholders, and other parties-in-interest, taken as a whole, that the
Corporation sell substantially all of its assets to a purchaser pursuant to section 363 of the
Bankruptcy Code.

        NOW THEREFORE, BE IT RESOLVED, that each Authorized Officer and any employee
or agent (including counsel) designated by or directed by such Authorized Officer be, and hereby
is, authorized, empowered and directed, in the name of and on behalf of the Corporation, to take
or cause to be taken any and all such further actions, and to execute, and deliver any asset purchase
agreement or similar document and any and all such ancillary agreements, certificates, instruments
and other documents, as such Authorized Officer in his/her discretion may deem necessary,
appropriate or desirable in order to fully carry out the intent and accomplish the purpose of the
resolutions adopted herein.

       RESTRUCTURING SUPPORT AGREEMENT

       WHEREAS, the Board has reviewed a term sheet (the “Term Sheet”) that sets forth the
material terms of a restructuring support agreement to be entered into in connection with the
Chapter 11 Case; and

      WHEREAS, in the judgment of the Board, it is advisable and in the best interests of the
Corporation, its creditors, stockholders, and other parties-in-interest, taken as a whole, that the
Corporation enter into a restructuring support agreement substantially on the terms set forth in the
Term Sheet;




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       NOW THEREFORE, BE IT RESOLVED, that the Board hereby authorizes and directs the
Authorized Officers to negotiate, finalize and execute the restructuring support agreement
substantially on the terms set forth in the Term Sheet (the “Restructuring Support Agreement”);
and be it further

        RESOLVED, that each Authorized Officer shall be, and hereby is, authorized and
empowered to make such changes or additions to the Restructuring Support Agreement as such
Authorized Officer, in his or her sole discretion, may deem necessary, appropriate or advisable,
and the execution and delivery of the Restructuring Support Agreement by such Authorized
Officer with any such changes or additions thereto being conclusive evidence that such Authorized
Officer deemed such changes or additions to be necessary, appropriate or advisable; and be it
further

        RESOLVED, the Corporation is hereby authorized, and the Authorized Officers shall be,
and hereby are, authorized, empowered and directed on behalf of and in the name of the
Corporation, in consultation with the Corporation’s advisors, to take all actions (including, without
limitation, to negotiate and execute any agreements, documents, or certificates) necessary to enter
into the Restructuring Support Agreement and to consummate the transactions contemplated
thereby in connection with the Chapter 11 Case, and that the Corporation’s execution of, and
performance of its obligations under, the Restructuring Support Agreement (any such other
agreements, documents, or certificates) hereby is, in all respects, authorized and approved.

       GENERAL

        RESOLVED, that, in addition to the specific authorizations heretofore conferred upon the
Authorized Officers and the employees or agents (including counsel) designated by or directed by
any Authorized Officer, each Authorized Officer and any employee or agent (including counsel)
designated by or directed by such Authorized Officer be, and hereby is, authorized, empowered
and directed, in the name of and behalf of the Corporation, to take or cause to be taken any and all
such other and further action, and to execute, acknowledge, deliver, and file any and all such
further agreements, certificates, instruments, and other documents and to pay all expenses,
including but not limited to filing fees, as such Authorized Officer in his/her discretion may deem
necessary, appropriate or desirable in order to fully carry out the intent and accomplish the
purposes of the resolutions adopted herein; and be it further

        RESOLVED, that the Board has received sufficient notice of the actions and transactions
relating to the matters contemplated by the foregoing resolutions, as may be required by the
organizational documents of the Corporation, or hereby waives any right to receive such notice;
and be it further

        RESOLVED, that all actions taken by any Authorized Officer to carry out the purposes
and intent of the foregoing resolutions prior to their adoption be, and hereby are, approved, ratified
and confirmed; and be it further

        RESOLVED, that each Authorized Officer be, and hereby is, authorized, empowered and
directed to take all actions, or to not take any action in the name of the Corporation, with respect
to the transactions contemplated by these resolutions, as such Authorized Officer shall deem

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necessary, appropriate or desirable in such Authorized Officer’s reasonable business judgment to
effectuate the purposes of the transactions contemplated herein; and be it further

       RESOLVED, that this consent may be executed in as many electronic or original
counterparts as may be required, and all counterparts shall collectively constitute one and the same
consent.




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        IN WITNESS WHEREOF, the undersigned have executed this written consent as of the
date first set forth above.

                                                          ___________________________
                                                          TJ Mangold


                                                          ___________________________
                                                          Denis Horgan




                                                          ___________________________
                                                          Geraldine Knatz


                                                          ___________________________
                                                          Robert Stan



                                                          Being all of the directors of:

                                                          Lighthouse Resources Inc.




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        IN WITNESS WHEREOF, the undersigned have executed this written consent as of the
date first set forth above.

                                                          ___________________________
                                                          TJ Mangold


                                                          ___________________________
                                                          Denis Horgan


                                                          ___________________________
                                                          Everett King


                                                          ___________________________
                                                          Geraldine Knatz


                                                          ___________________________
                                                          Robert Stan



                                                          Being all of the directors of:

                                                          Lighthouse Resources Inc.




                                                 6

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     Fill in this information to identify the case:

     Debtor name Lighthouse Resources Inc. _____________________________________

     United States Bankruptcy Court for the: __________________________ District of DE
                                                                                  (State)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing
     Case number (If known):




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                                                                                                            12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims.


    Name of creditor and complete             Name, telephone number, and        Nature of the         Indicate if     Amount of unsecured claim
    mailing address, including zip code       email address of creditor          claim (for example,   claim is        If the claim is fully unsecured, fill in only unsecured
                                              contact                            trade debts, bank     contingent,     claim amount. If claim is partially secured, fill in
                                                                                 loans, professional   unliquidated,   total claim amount and deduction for value of
                                                                                 services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                 government
                                                                                 contracts)
                                                                                                                       Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff

1
     Big Horn County Treasurer   Denise Rios              Government                                   N                                                      $6,196,490
    121 W. 3rd Street Room 203, 406.665.9837              Contracts
    Hardin, MT 59034-0908       drios@bighorncountymt.gov


2
    Montana Department of                    406.444.6900                       Government             N                                                      $4,484,001
    Revenue                                 dorcustomerassistance@mt.gov        Contracts
    PO Box 5805
    Helena, MT 59604-5805

3
    Office of Natural Resources 1.800.433.9801 x3668     Government                                    N                                                      $3,295,076
    Rev                           Rebecca Dyess          Contracts
    PO Box 25065, Denver Federal 303.231.3322
    Center, Denver, CO 80225-0065 Rebecca.Dyess@onrr.gov

4
   ICF Jones & Stokes, Inc.                  Zeeshawn Amin        Professional                         N                                                      $1,802,873
  PO Box 775367                             206.801.2800          Services
  Chicago, IL 60677-5367                    zeeshawn.Amin@icf.com
5
   RCF Mgmt Invoices                         Ross Bhappu          Lender/Owner                         N                                                      $1,263,940
  1400 Sixteenth Street Ste                 720.946.1444
  200, Denver, CO 80202                     rbhappu@rcflp.com


6
     Department of the Treasury              None                                Black Lung Tax N                                                             $404,254
    Internal Revenue Service
    Ogden, UT 84201-0009

7
    Anchor QEA                              Kendra Skellenger                   Professional           N                                                      $346,536
    1202 3rd Ave, Suite 2600                503.924.6179                        Services
    Seattle, WA 98101                       kskellenger@anchorqea.com


8
    Cowlitz County Treasurer                Tracy McDaniel                       Property Taxes N                                                             $218,161
    207 N. 4th Ave, Room 202                360.577.3060
    Kelso, WA 98626                         McDaniel.Tracy@co.cowlitz.
                                            wa.us


Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                         page 1
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     Debtor       Lighthouse Resources Inc.                                   Case number (if known) ______________________
                      Name




     Name of creditor and complete             Name, telephone number, and   Nature of the            Indicate if       Amount of unsecured claim
     mailing address, including zip code       email address of creditor     claim (for example,      claim is          If the claim is fully unsecured, fill in only unsecured
                                               contact                       trade debts, bank        contingent,       claim amount. If claim is partially secured, fill in
                                                                             loans, professional      unliquidated,     total claim amount and deduction for value of
                                                                             services, and            or disputed       collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                        Total claim, if    Deduction for        Unsecured
                                                                                                                        partially          value of             claim
                                                                                                                        secured            collateral or
                                                                                                                                           setoff

9
   Stoel Rives LLP                            Tom Newlon                     Professional              N                                                       $213,228
   760 SW Ninth Avenue, Suite                 800.305.8453                   Services
   3000, Portland, OR 97205                   accountsreceivable@stoel.com

10
   Holmes Family Limited                      Shelly Holmes                  Royalty                   N                                                       $179,226
   Partnership Royalties                      307.751.4459
   1099 Carrara Court                         Sdholmes2@msn.com
   Mesquite, NV 89027
   Venable LLP                                Danielle Pace                  Professional              N                                                       $165,050
11
   PO Box 62727                               410.528.2805                   Services
   Baltimore, MD 21264-2727                   DPace@Venable.com
12
   Buckley Powder Co.                         Kim Frazer                     Trade Debts               N                                                       $137,897
   PO Box 17532                               303.350.5128
   Denver, CO 80217-0532


13
     Carlile Enterprises, Inc.                David Carlile                  Professional              N                                                       $110,000
     3336 Daybreaker Drive                    435.513.3163                   Services
     Park City, UT 84098                      d.carlile@lhr-inc.com


14
    Terra Hydr                                503.612.9200                   Professional              N                                                       $107,283
   PO Box 3616                                                               Services
   Portland, OR 97208
15
    Interstate Power Systems,                 1.800.823.4334                 Trade Debts               N                                                       $105,528
   Inc.
   1140 Main Street
   Billing, MT 59107
16
    NMV International, LLC                    Mel Richmond                   Professional              N                                                       $100,000
   20308 Watermill Road                       mel.richmond@newmagellan. Services
   Purcellville, VA 20132                     com


17
     Arnold Machinery Company Don Darling                  Trade Debts                                 N                                                       $79,960
     10766 So Highway 59      800.972.400 x0929
     Gillette, WY 82718       ddarling@arnoldmachinery.com


18
   KOMATSU EQUIPMENT            Robert Richens               Trade Debts                               N                                                       $77,019
   COMPANY                      801.952.4739
   1486 South Distribution Dr., Robert.richens@komatsuna.com
   Salt Lake City, UT 84104
19
   Grette Associates            509.663.6300                 Professional                              N                                                       $73,646
   151 S. Worthen Street, Suite                              Services
   101
   Wenatchee, WA 98801

20
     Davis, Graham & Stubbs,                  Susanne Joslin                 Professional              N                                                       $65,395
     LLP                                      303.892.7593                   Services
     1550 17th Street Ste 500                 susanne.joslin@dgslaw.com
     Denver, CO 80202




     Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                            page 2
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      Debtor     Lighthouse Resources Inc.                                    Case number (if known) ______________________



       Name of creditor and complete         Name, telephone number, and   Nature of the           Indicate if        Amount of unsecured claim
       mailing address, including zip        email address of creditor     claim (for example,     claim is         If the claim is fully unsecured, fill in only unsecured
       code                                  contact                       trade debts, bank       contingent,      claim amount. If claim is partially secured, fill in total
                                                                           loans, professional     unliquidated,    claim amount and deduction for value of collateral or
                                                                           services, and           or disputed      setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)                                Total claim, if     Deduction for        Unsecured
                                                                                                                     partially           value of             claim
                                                                                                                     secured             collateral or
                                                                                                                                         setoff



21
   Equipment Maintenance                 Laurie Wasson                     Trade Debts              N                                                        $63,634
   Service                               307.682.8773
   3382 Bird Drive                       Laurie.wasson@sulzer.com
   Gillette, WY 82718
22
   Story Partners                        Debra Cabral                      Professional             N                                                        $60,615
   1000 Potomac Street, NW,              202.706.7800                      Services
   Suite 102, Washington DC,             Debra.Cabral@Storypartners
   20007                                 DC.com
23
   Department of Ecology-                800.633.6193           Regulatory                          N                                                        $58,900
   Wastewater Permit                     Wqfee_unit@ecy.wa.gov Agency/
   PO Box 47611                                                 Wastewater
   Olympia, WA 98504-7611                                       Permit
24
   National Environmental                Madonna Mitchell       Professional                        N                                                        $50,905
   Strategies, Inc.                      202.333.2524           Services
   2600 Virginia Avenue NW               Madonna_mitchell@nes-
   Suite 505                             dc.com
   Washington,   DC 20037
   Esco Corporation                      LeAnn Wilson           Trade Debts                         N                                                        $49,829
25
   14785 Collections Center              307.277.6741
   Drive,                                Leann.Wilson@mail.weir
   Chicago, IL 60693
26
   Montana Dept of                       Matthew Dorrington                Government               N                                                        $42,210
   Environmental                         406.444.4967                      Contracts
   PO Box 200901                         Matthew.dorrington@mt.gov
   Helena, MT 59620-0901
27
     Rimpull Corporation                     913.782.4000                  Trade Debts              N                                                        $41,741
     PO Box 748
     Olathe, KS 66051-0748


28
   Weston Strategic, LLC                 Wendy Hutchinson         Trade Debts                       N                                                        $41,650
   679 Heald Road                        360.560.9333
   Weston, WY 82731                      w.hutchinson@lhr-inc.com
29
   Cypress Advisory, LLC                 Paige Weinstein          Professional                      N                                                        $40,000
   1028 33rd Street NW                   202.337.1661             Services
   Washington, DC 20007                  paige@cypressgroupdc.com


30
     Kiewit Royalty Trust                    402.536.5100                  Royalty                  N                                                        $36,926
     Trust Division, US Bank
     National Association
     1700 Farnam Street
     Omaha, Nebraska 68102



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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                          )
    In re:                                                )      Chapter 11
                                                          )
    LIGHTHOUSE RESOURCES INC., et al.,1                   )      Case No. _____________
                                                          )
                             Debtors.                     )      (Joint Administration Requested)
                                                          )

                 CONSOLIDATED STATEMENT OF CORPORATE OWNERSHIP

             Pursuant to rules 1007(a) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

Lighthouse Resources Inc. (“Lighthouse”) and its affiliated debtors and debtors in possession (the

“Debtors”) respectfully represent as follows:

                    Lead-Debtor Lighthouse is the ultimate parent of all debtor entities and provides
                     centralized management and administrative services for the Debtors.

                    Lighthouse owns 100% of the equity interests in LHR Coal, LLC (“LHR Coal”).

                    LHR Coal owns 100% of the equity interests of Decker Holding Co., LLC (“Decker
                     Holding”).

                    Decker Holding owns 100% of the equity interests in Decker Coal Company, LLC
                     and Montana Royalty Holdings, LLC.

                    LHR Coal owns 100% of the equity interests in Big Horn Coal Company and
                     Rosebud Coal Sales Company.

                    LHR Coal owns 100% of KCP Properties, Inc. and KCP, Inc.

                    Lighthouse owns 100% of the equity interests in LHR Infrastructure, LLC (“LHR
                     Infrastructure”).


1
             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
             identification number include: Lighthouse Resources Inc. (4713), LHR Coal, LLC (4799), KCP,
             Inc. (2558), Big Horn Coal Company (7087), Rosebud Coal Sales Company (9016), KCP
             Properties, Inc. (8372), Decker Holding Co., LLC (8881), Decker Coal Company, LLC (3731),
             Montana Royalty Holdings, LLC (1107), LHR Infrastructure, LLC (9619), Millennium Bulk
             Terminals-Longview, LLC (0354), Barlow Point Land Company, LLC (1398), Columbia Land
             Co., LLC (6826), and Gulf States Bulk Terminal, LLC (5870). The location of the Debtors’ service
             address in these chapter 11 cases is 10980 South Jordan Gateway, South Jordan, Utah 84095.
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                  LHR Infrastructure owns 100% of the equity interests in Millennium Bulk
                   Terminals-Longview, LLC (“MBTL”) and Gulf State Bulk Terminal.

                  MBTL owns 100% of the equity interests in of Barlow Point Land Company, LLC
                   and Columbia Land Co., LLC.

                  Lighthouse owns 100% of the equity interests in non-Debtor Lighthouse Products
                   LLC.




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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                                )
    In re:                                                      )      Chapter 11
                                                                )
    LIGHTHOUSE RESOURCES INC., et al.,1                         )      Case No. _____________
                                                                )
                               Debtors.                         )      (Joint Administration Requested)
                                                                )


                                          LIST OF EQUITY HOLDERS2

             Pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following

identifies all holders having a direct ownership interest in the above-captioned debtor and debtor

in possession:



                                                                                   Kind/Class of               Number of
                Name                      Last Known Address
                                                                                     Interest                Interests Held


                                      Suite 200,
                                      1400 Sixteenth Street,
    Resource Capital Fund V                                                  Class A Common Stock              2,693,973
                                      Denver, Colorado, 80202
    L.P.



                                      Suite 200,
    Resource Capital Fund VI          1400 Sixteenth Street,                 Class A Common Stock              1,316,630
    L.P.                              Denver, Colorado, 80202,



1
             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
             identification number include: Lighthouse Resources Inc. (4713), LHR Coal, LLC (4799), KCP, Inc. (2558),
             Big Horn Coal Company (7087), Rosebud Coal Sales Company (9016), KCP Properties, Inc. (8372), Decker
             Holding Co., LLC (8881), Decker Coal Company, LLC (3731), Montana Royalty Holdings, LLC (1107),
             LHR Infrastructure, LLC (9619), Millennium Bulk Terminals-Longview, LLC (0354), Barlow Point Land
             Company, LLC (1398), Columbia Land Co., LLC (6826), and Gulf States Bulk Terminal, LLC (5870). The
             location of the Debtors’ service address in these chapter 11 cases is 10980 South Jordan Gateway, South
             Jordan, Utah 84095.
2
             This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules
             of Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the chapter 11
             cases.
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                             Suite 200,
 RCF V Annex Fund,
                             1400 Sixteenth Street,         Class A Common Stock   22,352
 L.P.
                             Denver, Colorado, 80202


                             c/- Crowe Horwath, Level 16,
                                                            Class B Non-Voting
                             120 Edward Street,
 AE Minerals Pty Ltd.                                       Convertible Common     350,691
                             Brisbane, Queensland, 4000,
                                                                   Stock
                             Australia




                                                 2

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                                 Case 20-13056-JTD                Doc 1           Filed 12/03/20              Page 23 of 23

 Fill in this information to identify the case and this filing:


               Lighthouse Resources Inc.
 Debtor Name __________________________________________________________________

                                                                             Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ✔
                                                            Statement of Corporate Ownership/List of Equity Holders
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                     12/03/2020
        Executed on ______________                          /s/ Darin T. Adlard
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Darin T. Adlard
                                                                ________________________________________________________________________
                                                                Printed name


                                                                Vice President of Finance, Lighthouse Resources Inc.
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
